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                                                                     Tuesday, 14 July, 2020 03:05:40 PM
                                                                          Clerk, U.S. District Court, ILCD
                            UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                  URBANA DIVISION

ANTHONY L. ROBERSON,                           )
                                 Plaintiff,    )
                                               )
                    v.                         )
                                               )        Case No. 18-2312
COLE ANDERSON, et al.,                         )
                                               )
                             Defendants.       )
                                               )
                                               )


                                          ORDER

      IT IS ORDERED HEREIN AS FOLLOWS:

      1.     That this matter be, and hereby is, scheduled for a final pretrial conference

by personal appearance before the undersigned on August 31, 2020, at 1:30 PM, in

Courtroom A, U.S. Courthouse, Urbana, Illinois.

      2.     All motions in limine or any other pretrial motions must be filed with the

Court by the close of business on July 24, 2020. Any responses to those motions must be

filed by the close of business on August 7, 2020.

      3.     Counsel who will actually try the case shall appear at the final pretrial

conference. CDIL-LR 16.1(E)(3).

      4.     Prior to the date for final pretrial conference, the parties shall confer and shall

prepare a proposed final pretrial order for presentation to the Court at the conference.

CDIL-LR 16(E)(4).

      5.     The proposed final pretrial order prepared in conformity with the sample

contained in Local Rules Appendix I shall contain the following:

              a.     A statement of the case including the facts showing the basis for
                     jurisdiction. CDIL-LR 16.1(F)(1).
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                b.      A signed stipulation of uncontested material facts. CDIL-LR
                       16.1(F)(2).

                c.     A joint statement of uncontested issues of law.           CDIL-LR

                       16.1(F)(3).

                d.     A joint statement of all contested material facts and issues of law.
                       CDIL-LR 16.1(F)(4).

                e.     Stipulations regarding the use of depositions and the presentation
                       of expert testimony. CDIL-LR 16.1(F)(5).

                f.     A list of all witnesses each party intends to call at trial. CDIL-LR
                       16.1(F)(6).

                g.     A list of exhibits each party intends to offer or use at trial.
                       CDIL-LR 16.1(F)(7).

                h.     A list of demonstrative aids intended for use at trial. CDIL-LR
                       16.1(F)(8).

       6.       The final pretrial order shall be prepared by Plaintiff’s counsel. CDIL-LR

16.1(F).

       7.       Plaintiff’s counsel shall submit the final pretrial order to opposing counsel

at least seven days prior to the final pretrial conference. CDIL-LR 16.1(F).

       8.       At the pretrial conference, the parties shall be prepared to discuss the

following:

                a.     The simplification of the issues for trial. CDIL-LR 16.1(E)(5)(a).

                b.     Any problems of evidence. CDIL-LR 16.1(E)(5)(b).

                c.     The possible limitation of the number of expert witnesses. CDIL-LR
                       16.1(E)(5)(c).

                d.     The desirability and timing of trial briefs. CDIL-LR 16.1(E)(5)(d).

                e.     Any settlement possibilities. CDIL-LR 16.1(E)(5)(e).

                f.     Matters which will facilitate speedy disposition of the action.
                       CDIL-LR 16.1(E)(5)(f).
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              g.     Short notice (fast track) possibilities. CDIL-LR 16.1(E)(5)(g)

      9.      At the final pretrial conference, the parties shall submit an agreed set of

jury instructions and any proposed voir dire questions. Jury instructions upon which

the parties are unable to agree shall be submitted separately by the parties. Each

instruction shall be tendered in compliance with Local Rule 16.1(E)(6). CDIL-LR

16.1(E)(6). Any objections to the jury instructions or proposed voir dire questions should

be filed by the close of business on September 7, 2020.

      10.    This matter is set for jury selection and jury trial on September 22, 2020, at

9:00 a.m.

      11..    The parties should be prepared to make stipulation and agreements as

appropriate. CDIL-LR 16.1(E)(3).

                          ENTERED this 14th day of July, 2020

                                   s/COLIN S. BRUCE
                                  U.S. DISTRICT JUDGE
